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                                                        IN THE CIRCUIT COURT, FOURTH
                                                        JUDICIAL CIRCUIT, IN AND FOR
                                                        DUVAL COUNTY, FLORIDA

                                                        CASE NO.:    16-2023-CA-004068
                                                        DIVISION:    CV-G

  AMBER MILLS,

             Plaintiff,

  vs.

  STATE FARM MUTUAL AUTOMOBILE
  INSURANCE COMPANY,

        Defendant.
  ______________________________________

                    DEFENDANT’S NOTICE OF FILING NOTICE OF REMOVAL

             Defendant STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY by and

  through its undersigned attorney and pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, hereby gives

  notice it has filed on this date with the United States District Clerk of the Court for the Middle

  District of Florida, Jacksonville Division, its Notice of Removal. (Exhibit “1”).


                                    CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a copy of the foregoing has been furnished by eService on April
  24,   2023        to    Howard   Butler,   Esq.   &   Baskin,   Esq.    (hgb@butlerlawgroup.net,
  dwb@butlerlawgroup.net, paralegal@butlerlawgroup.net) Butler Law Group, 1506 Prudential Dr
  Jacksonville, FL 32207, Counsel for Plaintiff.


                                                        BOYD & JENERETTE, P.A.


                                                        ________________________________
                                                        KRISTEN M. VAN DER LINDE
                                                        Florida Bar No. 964573


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